       Case 1:24-cr-00676-VEC          Document 34-3         Filed 01/15/25      Page 1 of 1



I have had the pleasure of knowing the Alexander family socially for many years. Orly and Shlomy
are close personal friends, and our relationship has always been one of mutual respect and
admiration. I would like to clarify that we are not business associates.

Throughout the years, I have consistently admired the strong bond shared by the Alexander family.
Orly and Shlomy are devoted parents who have instilled admirable values in their children, Oren,
Alon, and Tal. Their love and dedication to their family are evident in the close relationships they
maintain with their children.

I have also had the privilege of observing Oren, Alon, and Tal in various capacities—as loving sons
and supportive husbands. They are respectful, courteous, and an absolute pleasure to be around.

The Alexanders are known for their generosity and willingness to assist others. Whether helping an
individual in need, supporting their community, or contributing to an organization, they consistently
go above and beyond to make a positive impact.

It is an honor to know such an exemplary family, and I have no hesitation in expressing my deepest
respect for their character and values.



Respectfully,

Ruth
